                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                             No. 5:8-CR-75-FL
                            No. 5:19-CV-466-FL

CRUZ EDUARDO VALENCIA-ADATA,                   )
                                               )
             Petitioner,                       )
                                               )      JOINT MOTION TO SET
             v.                                )      BRIEFING SCHEDULE ON
                                               )      PETITIONER’S REHAIF-
UNITED STATES OF AMERICA,                      )      BASED § 2255 MOTION
                                               )
             Respondent.                       )

      Petitioner, by and through counsel of record, and Respondent, by and through

the Acting United States Attorney for the Eastern District of North Carolina, jointly

move the Court to enter the briefing schedule proposed below on Petitioner’s motion

pursuant to 28 U.S.C. § 2255 requesting vacatur of his conviction under 18 U.S.C. §

922(g) based on United States v. Rehaif, 139 S. Ct. 2191 (2019) (holding in prosecution

for possession of a firearm by a restricted person under 18 U.S.C. §§ 922(g) and 924(a),

the government must prove both that the defendant knew he possessed the firearm

and that he knew he belonged to the relevant category of restricted persons)

(hereinafter “Rehaif-based Section 2255 Motion”). In support of this motion, the

parties submit the following:

      1.     Respondent previously moved to hold Petitioner’s Rehaif-based Section

2255 Motion in abeyance pending issuance of the mandate in United States v. Gary,

No. 18-4578, and further requested that it be allowed up to and including thirty (30)
days from issuance of the mandate in Gary to answer or otherwise respond to

Petitioner’s motion.

      2.     Recently, the United States Supreme Court reversed the Fourth

Circuit’s decision in Gary. See Greer v. United States, 593 U.S. ---, 2021 WL 2405146

(June 14, 2021) (reversing Gary and, inter alia, holding a Rehaif error is not

structural). By letter dated June 14, 2021, the Supreme Court of the United States

informed the Fourth Circuit Court of Appeals of the decision, and indicated the

judgment or mandate would not issue for at least 25 days pursuant to Rule 45 of the

Rules of the Supreme Court of the United States. Gary, No. 18-4578, [D.E. 74]. The

judgment or mandate has not yet issued. Subsequently, Gary requested that the

Fourth Circuit reopen his appeal to decide the issues previously raised on appeal but

not addressed by the Court’s prior opinion. Id., [D.E. 75]. That motion remains

pending.

      3.     Counsel for Respondent estimates there are approximately 175 Rehaif-

based Section 2255 Motions pending in the Eastern District of North Carolina that

have either been stayed by Court Order pursuant to Respondent’s motion to stay with

a response due within 30 days of the mandate being issued in Gary or Respondent’s

motion to stay is pending.     Once the mandate in Gary is issued, Respondent

anticipates filing motions to dismiss these pending Rehaif-based Section 2255

Motions.    Respondent has already filed such a motion with a supporting

memorandum where the Court already ordered an answer or other response.
       4.     However, as a result of the Greer decision, the Federal Public Defender’s

Office is attempting to contact its clients about their Rehaif-based Section 2255

Motion to determine if the client consents to its withdrawal. Many clients have

already consented to such withdrawal, and their motions have been withdrawn. The

Federal Public Defender’s Office anticipates that many more of the Rehaif-based

Section 2255 Motions it filed (which constitutes the majority of Rehaif-based Section

2255 Motion filed in this District) will be withdrawn. The Federal Public Defender’s

Office is working diligently to consult with their clients on this matter but needs

additional time to do so. It is believed that such consultations can occur within the

next sixty (60) days, and the undersigned counsel for Petitioner agrees to make every

effort to do so.

       5.     If Petitioner consents to withdrawal of his Rehaif-based Section 2255

Motion, no further action will be necessary on that motion. In the event Petitioner

does not consent to withdrawal, Respondent respectfully requests thirty (30) days in

which to file its motion to dismiss Petitioner’s Rehaif-based Section 2255 Motion and

supporting memorandum.

       6.     Consequently, in the interests of judicial economy and conservation of

judicial resources, the parties respectfully request that the Court enter an Order

setting the following schedule for addressing Petitioner’s Rehaif-based Section 2255:

              (a)   Counsel for Petitioner shall make every effort to file any

       withdrawal of Petitioner’s Rehaif-based Section 2255 no later than September

       13, 2021;
            (b)    Respondent’s motion to dismiss and supporting memorandum

      shall be due by October 13 unless Petitioner’s motion is withdrawn before then;

            (c)    Petitioner’s response, if any, shall be due within twenty-one (21)

      days of the filing of Respondent’s motion to dismiss;

            (d)    Respondent’s reply, if any, shall be due within fourteen (14) days

      after Petitioner’s response.

            7.     Contemporaneously herewith the parties are submitting a jointly

      proposed order consistent with this motion.

            Respectfully submitted, this 21st day of July 2021.

G. NORMAN ACKER, III                         JAMES E. TODD, JR.
Acting United States Attorney                Federal Public Defender


By: /s/ Asia J. Prince                       /s/ James E. Todd , Jr.
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                           CERTIFICATE OF SERVICE

      I do hereby certify that I have this 21st day of July 2021, served a copy of the

foregoing upon Petitioner’s counsel of record by electronically filing the foregoing with

the Court on this date using the CM/ECF system.


                                         BY: /s/ Asia J. Prince
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